                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 1 of 90 Page ID #:1



                     1   KUTAK ROCK LLP
                         Saundra K. Wootton, Bar No. 224674
                     2   saundra.wootton@kutakrock.com
                         Bradley P. Boyer, Bar No. 179430
                     3   bradley.boyer@kutakrock.com
                         777 South Figueroa Street
                     4   Suite 4550
                         Los Angeles, California 90017-5800
                     5   Telephone: (213) 312-4000
                         Facsimile: (213) 312-4001
                     6
                         Attorneys for Plaintiff
                     7   8th SENSE, INC.
                     8
                                              UNITED STATES DISTRICT COURT
                     9
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    10

                    11   8th SENSE, INC.,                             Case No.
                    12                   Plaintiff,                   COMPLAINT FOR DAMAGES
                    13         v.                                     AND DEMAND FOR JURY
                                                                      TRIAL
                    14   ALESSANDRO MOGUL KHAN, a/k/a
                         NAWAB SHER, and SUSTENANCE
                    15   INC.,
                    16                   Defendants.
                    17

                    18         Plaintiff 8th Sense, Inc. (“8th Sense”), through Kutak Rock LLP, by way of
                    19   Complaint against Defendants Alessandro Mogul Khan (“Khan”), a/k/a/ Nawab
                    20   Sher, and Sustenance Inc. (“Sustenance”), hereby alleges as follows:
                    21                                   INTRODUCTION
                    22         1.     Plaintiff 8th Sense is a Canadian corporation, engaged in the medical
                    23   products industry, with clients that include large provincial health systems, such
                    24   Alberta Health Services and Ottawa Health Services. Defendant Khan owns and
                    25   controls Sustenance, his alter ego, which is engaged in the business of buying and
                    26   selling personal protective equipment (“PPE”). Seizing on the enormous demand for
                    27   PPE during the Covid-19 pandemic, and the potential for massive sales volume from
                    28   8th Sense’s Canadian provincial clients, Khan induced 8th Sense to transfer more than
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                                                               -1-
   LOS ANGELES
                                                           COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 2 of 90 Page ID #:2



                     1   four millions dollars to Sustenance for the purchase of 3M N-95 face masks, based
                     2   on his representations – supported in part for by fake documents – that his PPE
                     3   distributors were authorized distributors of 3M PPE.
                     4          2.     In fact, Khan’s distributors were not authorized 3M distributors and
                     5   delivered counterfeit 3M face masks to Plaintiff’s customers. Those counterfeit
                     6   products were seized and destroyed by Health Canada, Canada’s Federal Ministry of
                     7   Health, and resulted in the devasting ban of 8 th Sense from doing business with
                     8   Canadian governmental health systems. Upon discovering that Khan and Sustenance
                     9   had provided counterfeit product and failed to deliver on other orders, Plaintiff
                    10   terminated its contracts with Sustenance and demanded the return of its money.
                    11   Defendants have failed to refund any of the millions of dollars they defrauded from
                    12   Plaintiff.
                    13          3.     Consequently, by this action, Plaintiff seeks to recover judgment against
                    14   Defendants Khan and Sustenance for compensatory, actual, consequential and
                    15   special damages, as well as punitive and exemplary damages commensurate with the
                    16   egregious nature of Khan’s and Sustenance’s wrongdoing, in an amount sufficient to
                    17   punish and dissuade.
                    18                                       THE PARTIES
                    19          4.     Plaintiff 8th Sense is a Canadian corporation with its principal place of
                    20   business located in Quebec, Canada.
                    21          5.     Defendant Khan is an individual, a resident of California and the owner
                    22   and chief executive officer of Defendant Sustenance.
                    23          6.     Defendant Sustenance is a California corporation with its principal place
                    24   of business located at 3940 Broad Street, Suite No. 7461, San Luis Obispo,
                    25   California.
                    26                              JURISDICTION AND VENUE
                    27          7.     Plaintiff 8th Sense is a citizen of Canada.
                    28          8.     Defendant Khan is a citizen of California.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                 -2-
   LOS ANGELES
                                                             COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 3 of 90 Page ID #:3



                     1         9.      Defendant Sustenance is a citizen of California.
                     2         10.     This Court has subject matter jurisdiction over this matter pursuant to
                     3   28 U.S.C. § 1332 because there is complete diversity of citizenship and the amount
                     4   in controversy exceeds $75,000.
                     5         11.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(3) because Defendants
                     6   Khan and Sustenance are subject to jurisdiction in this district.
                     7                                   RELEVANT FACTS
                     8   Background
                     9         12.     Part of 8th Sense’s business involves the buying and selling of PPE.
                    10   Sustenance is engaged in the business of buying and selling PPE.
                    11         13.     In the fall of 2020, as the second wave of the Covid-19 Pandemic surged
                    12   throughout North America, 8th Sense was actively looking to source PPE for its
                    13   clients, which included, among others, Canadian provincial health systems in Alberta
                    14   and Ottawa.
                    15         14.     At the time, N-95 face masks manufactured by 3M, which is based in
                    16   Minnesota, were in great demand.
                    17         15.     In or about November 2020, Nicolas Giguere (“Giguere”), the Chief
                    18   Executive Officer of 8th Sense, was introduced to Khan. Khan and Sustenance were
                    19   previously unknown to 8th Sense. Realizing that 8th Sense could be a significant buyer
                    20   of PPE, Khan sought to validate himself and his company by impressing upon
                    21   Giguere that Khan was very successful and had substantial resources. He attempted
                    22   to do so by providing Giguere images of Khan’s Range Rover and palatial $8 million
                    23   home rising above the ocean, telling Giguere, among other things, that he had a
                    24   private plane, and that his grandfather was a billionaire, having made his fortune in
                    25   the petroleum industry.
                    26         16.     In November 2020, Khan represented to Giguere that his PPE sources
                    27   were authorized 3M distributors.
                    28         17.     Khan also represented to Giguere that the 3M face masks and other PPE
KUTAK ROCK LLP
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                                                                -3-
   LOS ANGELES
                                                            COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 4 of 90 Page ID #:4



                     1   that his sources distributed were manufactured by 3M in the United States. For
                     2   example, on November 17, 2020, Khan sent a message confirming that 3M’s model
                     3   1860 face masks were made in the United States. See Exhibit 1.
                     4         18.    On November 20, 2020, in response to Giguere’s request for a video
                     5   showing the actual boxes of 3M face masks and an indication that they were for 8th
                     6   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                     7   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                     8   background. See Exhibit 2.
                     9         19.    8th Sense relied upon those representations and other similar
                    10   representations and documents endorsed by Khan in placing orders and paying for
                    11   millions of dollars of PPE from November 17, 2020 to February 2, 2021.
                    12                                 Purchase Order No. 102
                    13         20.    More specifically, on November 17, 2020, 8th Sense issued to
                    14   Sustenance Purchase Order No. 102 for 40,000 3M face masks, model 1860, for a
                    15   purchase price of $136,000, and requirements, inter alia, that they are “made in the
                    16   USA with globally sourced materials”, and that “the seller guarantees that each mask
                    17   is genuine.” See Exhibit 3.
                    18         21.    Giguere made Khan aware that this order was for the Alberta Healthcare
                    19   Services.
                    20         22.    Sustenance, in turn, issued to 8th Sense Invoice No. 33538, dated
                    21   November 17, 2020, which mirrored the product and unit price descriptions in
                    22   Purchase Order No. 102 and did not object to or otherwise negate the requirements
                    23   in Purchase Order No. 102, but reduced the quantity to 22,200. See Exhibit 4.
                    24         23.    On November 18, 2020, 8th Sense wired $136,000 to an account
                    25   designated by Sustenance.1
                    26                                 Purchase Order No. 103
                    27         1
                                Because the first 36,760 of these masks delivered by Sustenance eventually
                    28   were deemed counterfeit by Health Canada, 8th Sense requested refund of the full
                         $136,000.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                              -4-
   LOS ANGELES
                                                          COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 5 of 90 Page ID #:5



                     1         24.    The following week, 8th Sense issued to Sustenance Purchase Order No.
                     2   103, dated November 25, 2020, for 47,840 3M face masks, model 8210, for a
                     3   purchase price of $145,912, and requirements, inter alia, that they are “made in the
                     4   USA with globally sourced materials”, and that “the seller guarantees that each mask
                     5   is genuine.” See Exhibit 5.
                     6         25.    Sustenance, in turn, issued to 8th Sense Invoice No. 33550, dated
                     7   November 25, 2020, which mirrored the product, quantity and price descriptions in
                     8   Purchase Order No. 103 and did not object to or otherwise negate the requirements
                     9   in Purchase Order No. 103. See Exhibit 6.
                    10         26.    On November 27, 2020, 8th Sense wired $145,912 to an account
                    11   designated by Sustenance.
                    12         27.    On December 3, 2020, Sustenance delivered 25,600 3M model 8210
                    13   face masks.2 But because Sustenance failed to deliver the other 22,240 face masks
                    14   that 8th Sense had paid for, on February 2, 2021, 8th Sense demanded that Sustenance
                    15   refund $67, 832 of the $146, 912 paid.
                    16         28.    To date, Sustenance has failed to refund any of the $67,832 demanded.
                    17                                 Purchase Order No. 105
                    18         29.    8th Sense also issued to Sustenance Purchase Order No. 105, dated
                    19   November 25, 2020, for 300,000 3M face masks, model 1860 small, for a purchase
                    20   price of $825,000, and requirements, inter alia, that they are “made in the USA with
                    21   globally sourced materials”, and that “the seller guarantees that each mask is
                    22   genuine.” See Exhibit 7.
                    23         30.    Sustenance, in turn, issued to 8th Sense Invoice No. 33552, dated
                    24   November 25, 2020, that priced the 300,000 3M face masks, model 1860 small, at
                    25   $945,000, but did not object to or otherwise negate the requirements in Purchase
                    26   Order No. 105. See Exhibit 8.
                    27
                               2
                    28          Despite having been fully paid, Sustenance erroneously issued Invoice No.
                         33555 for that delivery with a balance due of $83,200.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                              -5-
   LOS ANGELES
                                                          COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 6 of 90 Page ID #:6



                     1         31.     8th Sense wired payment to Sustenance in several transfers for a total
                     2   amount of $935,000 between November 27 and December 12, 2020.
                     3         32.     By early December 2020, Khan and Sustenance had successfully
                     4   solicited and accepted multiple purchase orders from 8th Sense. Seeking to leverage
                     5   8th Sense’s relationship with provincial health systems in Canada, and the enormous
                     6   sales volume those entities could generate for Sustenance, Khan sent Giguere and 8th
                     7   Sense a series of documents and messages designed to gain 8th Sense’s trust and
                     8   confidence in Khan’s ability to deliver genuine 3M PPE from what Khan represented
                     9   were Sustenance’s authorized 3M distributors.
                    10         33.     Specifically, on December 1, 2020, Khan sent Giguere an image of a
                    11   3M packaging document relating to 3M face masks stating that the product was made
                    12   in the USA, as he reiterated in his message transmitting the document. See Exhibit
                    13   9.
                    14         34.     On December 2, 2020, Khan, attempting to create an impression that he
                    15   had access to key persons at 3M, sent Giguere a message, stating “Call you when I
                    16   get done with 3M attorney”. Exhibit 10.
                    17         35.     On December 7, 2020, Khan sent Giguere images of a box purportedly
                    18   holding 3M face masks, and a document from the National Institute of Occupational
                    19   Health and Safety (“NIOSH”) indicating that the 3M’s 1860 series face masks were
                    20   genuine and came from 3M’s Minnesota location. See Exhibit 11.
                    21         36.     On December 8, 2020, Khan sent 8th Sense 3M certificates confirming
                    22   that Sustenance’s suppliers are authorized 3M distributors.      See Exhibit 12 and
                    23   Exhibit 13.
                    24         37.     On December 15, 2020, Khan again represented to 8th Sense that the 3M
                    25   face masks were made in the United States, specifically writing, “St. Paul MN” in
                    26   response to an inquiry from 8th Sense as to where they were made. See Exhibit 14.
                    27         38.     That was followed by a Letter of Attestation from Sustenance’s counsel,
                    28   the Yeager Law Firm, dated December 16, 20210, which was addressed to “3M
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               -6-
   LOS ANGELES
                                                           COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 7 of 90 Page ID #:7



                     1   Distributor/Reseller” and concerned “3M Personal Protective Equipment Supplies”.
                     2   The Letter of Attestations stated, inter lia:
                     3

                     4

                     5

                     6   See Exhibit 15.
                     7                                  Purchase Order No. 107
                     8         39.    Relying on the foregoing representations and the afore-described
                     9   documents sent by Khan, 8th Sense placed a very large order for 1 million 3M face
                    10   masks. Specifically, on December 23, 2020, 8th Sense issued to Sustenance Purchase
                    11   Order No. 107, dated December 23, 2020, for 1 million 3M face masks, model 1860,
                    12   for a purchase price of $2,090,000, and requirements, inter alia, that they are “made
                    13   in the USA with globally sourced materials”, and that “the seller guarantees that each
                    14   mask is genuine.” See Exhibit 16.
                    15         40.    Sustenance, in turn, issued to 8th Sense Invoice No. 33577, dated
                    16   December 30, 2020, which did not object to or otherwise negate the requirements in
                    17   Purchase Order No. 107. See Exhibit 17.
                    18         41.    In furtherance of Purchase Order No. 107, 8th Sense wired the following
                    19   amounts on the following dates to an account designated by Khan:
                    20         • Dec. 24, 2020:            $300,000
                    21         • Dec. 29, 2020:            $300,000
                    22         • Dec. 30, 2020:            $150,000
                    23         • Dec. 31, 2020:            $1,340,000
                    24         42.    On December 31, 2020, Khan wrote to Giguere and represented: “We
                    25   will have packing list, AWB and other pertinent documents in 4 hours for the
                    26   1M[illion] masks going out today[.] I am waiting for the 300k but it is ready and
                    27   waiting for pickup, so we will have shipped out today . . .” See Exhibit 18.
                    28         43.    Unbeknownst to 8th Sense, from the $2,090,000 that 8th Sense had wired
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                                                                 -7-
   LOS ANGELES
                                                             COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 8 of 90 Page ID #:8



                     1   to Sustenance for Purchase Order No. 107, only $190,000 actually reached the
                     2   distributor. The rest was converted by Khan and Sustenance.
                     3         44.    To conceal the conversion, the next day, on January 1, 2021, Khan sent
                     4   Giguere a phony shipping document reflecting that the 1 million 3M 1860 face masks
                     5   were being shipped to 8th Sense. See Exhibit 19.
                     6   Khan’s Fraud and Conversion Reveals Itself
                     7                           The Unauthorized 3M Distributors
                     8         45.    In February 2021, Khan and Sustenance’s fraud and conversion began
                     9   coming to light. Specifically, after continued delays in delivery of the 1 million
                    10   model 1860 face masks that were the subject of Purchase Order No. 107 and Invoice
                    11   No. 33577, Khan revealed that his source was FRF Worldwide, Inc. (“FRF”) of
                    12   Danielsville, Pennsylvania. FRF is not an authorized 3M distributor.
                    13         46.    Upon contacting FRF directly, 8th Sense was informed that Sustenance
                    14   had contracted with FRF to purchase large quantities of 3M model 1860 face masks
                    15   to be delivered to 8th Sense. But that out of the $2,090,000 that 8 th Sense had wired
                    16   to Sustenance for Purchase Order No. 107, only $190,000 actually reached FRF.
                    17         47.    Khan further revealed that his source for the 300,00 3M 1860 small face
                    18   masks under Purchase Order No. 105 and Invoice No. 33552 were two other
                    19   American companies, Prime Health Group and Coordinates PPE LLC—neither of
                    20   which was an authorized 3M distributor.
                    21               Health Canada Identifies Potential Counterfeit Face Masks
                    22         48.    On February 16, 2021, 8th Sense met and communicated with Health
                    23   Canada, which identified 3M face masks delivered by 8th Sense (through Sustenance)
                    24   that appeared to be counterfeit.
                    25         49.    Following its communications with Health Canada, that same day, 8 th
                    26   Sense notified Alberta Health Services that it would be taking back the face masks.
                    27   More specifically, 8th Sense took back the following product from Alberta Health
                    28   Services, pending an investigation performed by Health Canada:
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               -8-
   LOS ANGELES
                                                            COMPLAINT
                    Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 9 of 90 Page ID #:9



                     1               • 22,080 units of 3M 1860 Received at AHS on 12/15/20,
                     2               • 60,000 Units of 3M 1860S Lot Number B20522 received at AHS on
                     3                 1/29/21, and
                     4               • 83,160 Units of 3M 1860S Lot Number B20522 received at AHS on
                     5                 2/8/21.
                     6                           3M Confirms Distributor Not Authorized
                     7         50.     Two weeks later, on March 1, 2021, 3M’s fraud division confirmed to
                     8   8th Sense that Sustenance’s Asian distributor, which had supplied the face masks
                     9   delivered to Alberta Health Services, was in fact not an authorized 3M distributor.
                    10   See Exhibit 20.
                    11                             Counterfeit Face Masks Confirmed
                    12         51.     By letter dated March 29, 2021, Health Canada notified 8th Sense that
                    13   the face masks were counterfeit as confirmed by the investigation performed in
                    14   conjunction with 3M, and that all of the counterfeit product would be seized and
                    15   destroyed. See Exhibit 20.
                    16         52.     That was a devasting blow to 8th Sense because it resulted in it being
                    17   banned from doing business with Alberta Health Systems for six months, cancelling
                    18   all pending orders from Alberta Health Systems, and also barred 8th Sense from doing
                    19   business with the much larger (and potentially more lucrative) Ottawa Health
                    20   Service.
                    21                                    Demands for Refund
                    22         53.     Even before receiving that notice from Health Canada, 8 th Sense had
                    23   begun demanding refunds from Sustenance. Specifically, on February 1, 2021, 8 th
                    24   Sense wrote to Sustenance and demanded that Sustenance refund the following
                    25   amounts under the following invoices due to its failure to deliver the contracted
                    26   quantities:
                    27                 For the Invoice 33538 of Sustenance, we paid in full and there is still
                    28                 missing 3240 Masks @ $3,40 Total: $11,016
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                -9-
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 10 of 90 Page ID #:10



                     1

                     2               For the invoice 33550 of Sustenance, we paid in full and there is still
                     3               missing 22240 Masks @ 3,05 Total: $67,832
                     4         54.   On February 19, 2021, following a discussion between Giguere and
                     5   Khan, 8th Sense sent Sustenance three separate demands for refunds based on the
                     6   counterfeiting, delayed delivery and other misrepresentations. Specifically:
                     7         At 2:17 PM, 8th Sense wrote:
                     8               Regarding the masks bought from your company, it appears, as
                     9               discussed together, that the masks are not authentic 3M 1860 as sold.
                    10               We received the notice of return and refund from our Government.
                    11

                    12               We asked you to refund the amount paid to your society for these
                    13               masks due to the situation exposed.
                    14

                    15               The documentation received from you and the information[] appeared
                    16               to be not authentic.
                    17

                    18               Under these circumstances, we ask you for a complete refund
                    19               immediately . . .
                    20         At 2:44 PM, 8th Sense wrote:
                    21               Regarding the transaction of 1M masks 1860 that you were suppose[d]
                    22               to deliver in December 2020, we asked for a refund due to non
                    23               performance and other reasons.
                    24

                    25                   We paid you 2,100,000 USD as described below:
                    26
                    27                   1- 300,000$ USD December 24th
                    28                   2- 300,000$ USD December 29th
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                              - 10 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 11 of 90 Page ID #:11



                     1              3- 150,000USD December 30th
                     2              4- 1,340,000 December 31st for a total of 2,090,000USD
                     3           We received a tracking link from you we were unable to verify and also
                     4           we received many dates of delivery that you never respected. From now,
                     5           we didn’t receive anything. With the situation also that you shipped us
                     6           masks 1860 and 1860S that appeared to be counterfeit, we prefer to
                     7           request the refund to avoid any more complications.
                     8

                     9           We also, with your permission, got in communication with the supplier,
                    10           FRF Worldwide Inc, which is not a distributor as mentioned by you
                    11           before. Also, Dennis told us that he received an account from you of
                    12           190,000$ USD which is10% of the transaction. . . .
                    13

                    14           We request refund immediately
                    15     At 3:17 PM, 8th Sense wrote:
                    16           As per our previous conversations, we request immediate refund of the
                    17           amount of 945,000$ USD paid in full to your society. The invoice
                    18           from number from Sustenance is #33552.
                    19

                    20           The refund is due to multiple documentations received concerning
                    21           these masks that appeared to be counterfeit also. As you are aware, we
                    22           received the visit of Health Canada and also the Police Department
                    23           regarding the authenticity of these masks.
                    24

                    25           These masks has been shipped to our Canadian Government as you
                    26           were aware that these masks were bought for them. They warned us
                    27           about the situation of non authentic 3M masks. We immediately told
                    28           you about this concern. From our previous doubts, we open[ed] a case
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                          - 11 -
   LOS ANGELES
                                                      COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 12 of 90 Page ID #:12



                     1                with 3M Fraud and sent all paperwork[] from this transaction. All
                     2                diligence and verifications we are doing at the moment has been
                     3                disclose to you.
                     4

                     5                We are facing a very inconvenient situation now so we would like to
                     6                have an immediate refund due to these multiple factors explained.
                     7                We will also request the refund of our costs for the customs and
                     8                transportation that will be provided by Maxime Cliche
                     9                admin@8thsense.ca.
                    10

                    11                You have been very transparent and told us that you bought these
                    12                masks from Prime Health Group, represented by Marko DeJan. We are
                    13                also aware that Prime Health Group bought from Coordinates PPE
                    14                LLC represented by Cody Alfrey.
                    15

                    16         55.    To date, Sustenance and Khan have failed to refund any of the funds
                    17   owed to 8th Sense.
                    18         56.    As a consequence of having sold counterfeit product to Alberta Health
                    19   Systems, albeit unknowing, Health Canada imposed sanctions that bar 8th Sense from
                    20   doing business with Canadian health systems, for a period of six months. That
                    21   resulted in the cancellation of orders with Alberta Health Systems and potential
                    22   orders with Ottawa Health Systems that would have generated over $1.6 million in
                    23   profits for 8th Sense.
                    24                                     Alter Ego Allegations
                    25         57.    As between Defendants Khan and Sustenance there exists at all times
                    26   mentioned herein a unity of interest of ownership between such Defendants such that
                    27   any individual and separateness between those Defendants have ceased, and that such
                    28   Sustenance is the alter-ego of Khan so that adherence to the fiction of the separate
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                              - 12 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 13 of 90 Page ID #:13



                     1   existence of these Defendants as distinct from each other would permit abuse of the
                     2   corporate privilege, sanction fraud and promote injustice.
                     3         58.    Upon information and belief, Sustenance, at all relevant times, was
                     4   undercapitalized and failed to adhere to corporate formalities.
                     5         59.    Upon information and belief, belief, Khan used Sustenance funds for his
                     6   own purposes, exercised complete domination and control over Sustenance, and used
                     7   his complete domination and control over Sustenance to commit wrongful acts
                     8   against Plaintiff causing injury to Plaintiff.
                     9                               FIRST CAUSE OF ACTION
                    10                             Fraud – Purchase Order No. 107
                    11                              (Against Khan and Sustenance)
                    12         60.    Plaintiff repeats and realleges the allegations contained in each of the
                    13   preceding paragraphs as set forth at length herein.
                    14         61.    In November and December 2020, Khan and Sustenance falsely
                    15   represented to 8th Sense that their distributors of 3M face masks and other PPE were
                    16   authorized by 3M to distribute 3M products.
                    17         62.    In November and December 2020, Khan and Sustenance falsely
                    18   represented to 8th Sense that their distributors had 3M face masks that were
                    19   manufactured in the United States.
                    20         63.    Khan and Sustenance knew that the foregoing representations were false
                    21   or had a reckless disregard for their truth.
                    22         64.    8th Sense reasonably relied upon the foregoing misrepresentations in
                    23   issuing Purchase Order No. 107 for one million 3M, model 1860, face masks, and
                    24   wiring $2,090,000 to Sustenance.
                    25         65.    As a direct and proximate result of the foregoing misrepresentations,
                    26   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                    27   unreturned funds, as well as consequential damages in the cancellation of contracts
                    28   and a bar on doing business with Canadian health systems.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                 - 13 -
   LOS ANGELES
                                                             COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 14 of 90 Page ID #:14



                     1                            SECOND CAUSE OF ACTION
                     2                Negligent Misrepresentation – Purchase Order No. 107
                     3                            (Against Khan and Sustenance)
                     4         66.    Plaintiff repeats and realleges the allegations contained in each of the
                     5   preceding paragraphs as set forth at length herein.
                     6         67.    In November and December 2020, Khan and Sustenance falsely
                     7   represented to 8th Sense that their distributors of 3M face masks and other PPE were
                     8   authorized by 3M to distribute 3M products.
                     9         68.    In November and December 2020, Khan and Sustenance falsely
                    10   represented to 8th Sense that their distributors had 3M face masks that were
                    11   manufactured in the United States.
                    12         69.    Khan and Sustenance had no reasonable ground for believing that those
                    13   representations were true, yet intended that 8th Sense reply upon those
                    14   representations.
                    15         70.    8th Sense reasonably relied upon the foregoing misrepresentations in
                    16   issuing Purchase Order No. 107 for one million 3M, model 1860, face masks, and
                    17   wiring $2,090,000 to Sustenance.
                    18         71.    As a direct and proximate result of the foregoing misrepresentations,
                    19   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                    20   unreturned funds, as well as consequential damages in the cancellation of contracts
                    21   and a bar on doing business with Canadian health systems.
                    22                             THIRD CAUSE OF ACTION
                    23                         Conversion – Purchase Order No. 107
                    24                            (Against Khan and Sustenance)
                    25         72.    Plaintiff repeats and realleges the allegations contained in each of the
                    26   preceding paragraphs as set forth at length herein.
                    27         73.    In furtherance of Purchase Order No. 107, 8th Sense wired the following
                    28   amounts on the following dates to an account designated by Khan, for the purchase
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 14 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 15 of 90 Page ID #:15



                     1   of one million 3M series 1860 face masks:
                     2                o Dec. 24, 2020:          $300,000
                     3                o Dec. 29, 2020:          $300,000
                     4                o Dec. 30, 2020:          $150,000
                     5                o Dec. 31, 2020:          $1,340,000
                     6         74.    Unbeknownst to 8th Sense, of the $2,090,000 that 8th Sense had wired
                     7   to Khan and Sustenance for Purchase Order No. 107, only $190,000 actually reached
                     8   the distributor, FRF. The rest was kept by Khan and Sustenance.
                     9         75.    On February 19, 2021, after having been informed by FRF that
                    10   Sustenance had forwarded only $190,000, 8 th Sense demanded that Khan and
                    11   Sustenance refund the $2,090,000 paid by 8th Sense.
                    12         76.    In failing to return any of the monies as demanded by 8th Sense, Khan
                    13   and 8th Sense have exercised dominion and control over those funds and substantially
                    14   interfered with 8th Sense’s right to those funds, without 8th Sense’s consent.
                    15         77.    As a direct and proximate cause of Defendants’ unlawful conduct,
                    16   Plaintiff has sustained damages.
                    17                            FOURTH CAUSE OF ACTION
                    18                     Breach of Contract – Purchase Order No. 107
                    19                             (Against Khan and Sustenance)
                    20         78.    Plaintiff repeats and realleges the allegations contained in each of the
                    21   preceding paragraphs as set forth at length herein.
                    22         79.    On December 23, 2020, 8th Sense issued to Sustenance Purchase Order
                    23   No 107, dated December 23, 2020, for one million 3M face masks, model 1860, for
                    24   a purchase price of $2,090,000, and requirements, inter alia, that they are “made in
                    25   the USA with globally sourced materials”, and that “the seller guarantees that each
                    26   mask is genuine.”
                    27         80.    Khan and Sustenance, in turn, issued to 8th Sense Invoice No. 33577,
                    28   dated December 30, 2020, which mirrored the product, quantity and price
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 15 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 16 of 90 Page ID #:16



                     1   descriptions in Purchase Order No. 107 and did not object to or otherwise negate the
                     2   requirements in Purchase Order No. 107, thereby forming a contract, under the
                     3   Uniform Commercial Code, as between merchants.
                     4         81.    In furtherance of its contractual obligation, 8th Sense wired $2,090,000
                     5   to Sustenance during the period December 24 through December 31, 2020, thereby
                     6   fully performing on the contract.
                     7         82.    Khan and Sustenance breached the contract by failing to deliver any of
                     8   the subject 3M face masks and by failing to return the subject funds after they were
                     9   demanded by 8th Sense.
                    10         83.    As a direct and proximate cause of such breaches, Plaintiff has sustained
                    11   damages in the amount of the unreturned funds, as well as consequential damages in
                    12   the cancellation of contracts and a bar on doing business with Canadian health
                    13   systems.
                    14         84.    Sustenance was and is the alter ego and mere instrumentality of Khan.
                    15                             FIFTH CAUSE OF ACTION
                    16                     Unjust Enrichment – Purchase Order No. 107
                    17                            (Against Khan and Sustenance)
                    18         85.    Plaintiff repeats and realleges the allegations contained in each of the
                    19   preceding paragraphs as set forth at length herein.
                    20         86.    On December 23, 2020, 8th Sense issued to Sustenance Purchase Order
                    21   No 107, dated December 23, 2020, for one million 3M face masks, model 1860, for
                    22   a purchase price of $2,090,000, and requirements, inter alia, that they are “made in
                    23   the USA with globally sourced materials”, and that “the seller guarantees that each
                    24   mask is genuine.”
                    25         87.    Khan and Sustenance, in turn, issued to 8th Sense Invoice No. 33577,
                    26   dated December 30, 2020, which mirrored the product, quantity and price
                    27   descriptions in Purchase Order No. 107 and did not object to or otherwise negate the
                    28   requirements in Purchase Order No. 107.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 16 -
   LOS ANGELES
                                                             COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 17 of 90 Page ID #:17



                     1         88.     In furtherance of Purchase Order No. 107, 8th Sense wired $2,090,000
                     2   to Sustenance during the period December 24 through December 31, 2020, thereby
                     3   fully performing on its obligation.
                     4         89.     By failing to deliver any of the subject 3M face masks and by failing to
                     5   return the subject funds after they were demanded by 8th Sense, Khan and Sustenance
                     6   have been unjustly enriched to Plaintiff’s detriment.
                     7         90.     Sustenance was and is the alter ego and mere instrumentality of Khan.
                     8                                SIXTH CAUSE OF ACTION
                     9                             Fraud – Purchase Order No. 102
                    10                             (Against Khan and Sustenance)
                    11         91.     Plaintiff repeats and realleges the allegations contained in each of the
                    12   preceding paragraphs as set forth at length herein.
                    13         92.     In November 2020, Khan and Sustenance falsely represented to 8 th
                    14   Sense that their distributors of 3M face masks and other PPE were authorized by 3M
                    15   to distribute 3M products.
                    16         93.     In November 2020, Khan and Sustenance falsely represented to 8 th
                    17   Sense that the 3M face masks and other PPE that his sources distributed were
                    18   manufactured by 3M in the United States. For example, on November 17, 2020,
                    19   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
                    20   United States.
                    21         94.     On November 20, 2020, in response to Giguere’s request for a video
                    22   showing the actual boxes of 3M face masks and an indication that they were for 8th
                    23   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                    24   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                    25   background.
                    26         95.     Khan and Sustenance knew that the foregoing representations were false
                    27   or had a reckless disregard for their truth.
                    28         96.     8th Sense reasonably relied upon the foregoing misrepresentations in
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                - 17 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 18 of 90 Page ID #:18



                     1   issuing Purchase Order No. 102 for 40,000, model 1860, face masks, and wiring
                     2   $136,000 to Sustenance.
                     3         97.     As a direct and proximate result of the foregoing misrepresentations,
                     4   and 8th Sense’s reliance thereon,8th Sense sustained damages in the amount of the
                     5   unreturned funds, as well as consequential damages in the cancellation of contracts
                     6   and a bar on doing business with Canadian health systems.
                     7                            SEVENTH CAUSE OF ACTION
                     8                 Negligent Misrepresentation – Purchase Order No. 102
                     9                             (Against Khan and Sustenance)
                    10         98.     Plaintiff repeats and realleges the allegations contained in each of the
                    11   preceding paragraphs as set forth at length herein.
                    12         99.     In November 2020, Khan and Sustenance falsely represented to 8th
                    13   Sense that their distributors of 3M face masks and other PPE were authorized by 3M
                    14   to distribute 3M products.
                    15         100. In November 2020, Khan and Sustenance falsely represented to 8 th
                    16   Sense that the 3M face masks and other PPE that his sources distributed were
                    17   manufactured by 3M in the United States. For example, on November 17, 2020,
                    18   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
                    19   United States.
                    20         101. On November 20, 2020, in response to Giguere’s request for a video
                    21   showing the actual boxes of 3M face masks and an indication that they were for 8th
                    22   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                    23   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                    24   background.
                    25         102. Khan and Sustenance had no reason to believe that the foregoing
                    26   representations were true, yet intended for 8th Sense to rely upon them.
                    27         103. 8th Sense relied upon the foregoing misrepresentations in issuing
                    28   Purchase Order No. 102 for 40,000, model 1860, face masks, and wiring $136,000
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 18 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 19 of 90 Page ID #:19



                     1   to Sustenance.
                     2         104. As a direct and proximate result of the foregoing misrepresentations,
                     3   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                     4   unreturned funds, as well as consequential damages in the cancellation of contracts
                     5   and a bar on doing business with Canadian health systems.
                     6                            EIGHTH CAUSE OF ACTION
                     7                         Conversion – Purchase Order No. 102
                     8                             (Against Khan and Sustenance)
                     9         105. Plaintiff repeats and realleges the allegations contained in each of the
                    10   preceding paragraphs as set forth at length herein.
                    11         106. In furtherance of Purchase Order No. 102, 8th Sense wired $136,000 to
                    12   an account designated by Khan, for the purchase of 40,000 3M series 1860 face
                    13   masks.
                    14         107. On February 16, 2021, 8th Sense was informed by Health Canada that
                    15   the face masks delivered to Alberta Health Service (through Sustenance) may be
                    16   counterfeit. In fact, the face masks were later determined to be counterfeit and,
                    17   consequently, were seized and destroyed.
                    18         108. On February 19, 2021, after having been informed by Health Canada
                    19   that face masks delivered to Alberta Health Services may be counterfeit, 8 th Sense
                    20   demanded that Khan and Sustenance refund the $136,000 paid by 8 th Sense.
                    21         109. In failing to return any of the monies as demanded by 8th Sense, Khan
                    22   and 8th Sense have exercised dominion and control over those funds and substantially
                    23   interfered with 8th Sense’s right to those funds, without 8th Sense’s consent.
                    24         110. As a direct and proximate cause of Defendants’ unlawful conduct,
                    25   Plaintiff has sustained damages.
                    26   ///
                    27   ///
                    28   ///
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 19 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 20 of 90 Page ID #:20



                     1                             NINTH CAUSE OF ACTION
                     2                     Breach of Contract – Purchase Order No. 102
                     3                            (Against Khan and Sustenance)
                     4         111. Plaintiff repeats and realleges the allegations contained in each of the
                     5   preceding paragraphs as set forth at length herein.
                     6         112. On November 17, 2020, 8th Sense issued to Sustenance Purchase Order
                     7   No 102, dated November 17, 2020, for 40,000 3M face masks, model 1860, for a
                     8   purchase price of $136,000, and requirements, inter alia, that they are “made in the
                     9   USA with globally sourced materials”, and that “the seller guarantees that each mask
                    10   is genuine.”
                    11         113. Sustenance, in turn, issued to 8th Sense Invoice No. 33538, dated
                    12   November 17, 2020, which mirrored the product, quantity and price descriptions in
                    13   Purchase Order No. 102 and did not object to or otherwise negate the requirements
                    14   in Purchase Order No. 102, thereby forming a contract, under the Uniform
                    15   Commercial Code, as between merchants.
                    16         114. In furtherance of its contractual obligation, 8th Sense wired $136,000 to
                    17   Sustenance November 18, 2020, thereby fully performing on the contract.
                    18         115. Khan and Sustenance breached the contract by delivering counterfeit
                    19   face masks that were rejected by Health Canada and Alberta Health Services.
                    20         116. As a direct and proximate cause of such breaches, Plaintiff has sustained
                    21   damages in the amount of the unreturned funds, as well as consequential damages in
                    22   the cancellation of contracts and a bar on doing business with Canadian health
                    23   systems.
                    24         117. Sustenance was and is the alter ego and mere instrumentality of Khan.
                    25                             TENTH CAUSE OF ACTION
                    26                     Unjust Enrichment – Purchase Order No. 102
                    27                            (Against Khan and Sustenance)
                    28         118. Plaintiff repeats and realleges the allegations contained in each of the
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 20 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 21 of 90 Page ID #:21



                     1   preceding paragraphs as set forth at length herein.
                     2         119. On November 17, 2020, 8th Sense issued to Sustenance Purchase Order
                     3   No 102, dated November 17, 2020, for 40,000 3M face masks, model 1860, for a
                     4   purchase price of $136,000, and requirements, inter alia, that they are “made in the
                     5   USA with globally sourced materials”, and that “the seller guarantees that each mask
                     6   is genuine.”
                     7         120. Khan and Sustenance, in turn, issued to 8th Sense Invoice No. 33538,
                     8   dated November 17, 2020, which mirrored the product, quantity and price
                     9   descriptions in Purchase Order No. 102 and did not object to or otherwise negate the
                    10   requirements in Purchase Order No. 102.
                    11         121. In furtherance of Purchase Order No.102, 8th Sense wired $136,000 to
                    12   Sustenance November 18, 2020, thereby fully performing its obligation.
                    13         122. By delivering counterfeit face masks and by failing to return the subject
                    14   funds after they were demanded by 8th Sense, Khan and Sustenance have been
                    15   unjustly enriched to Plaintiff’s detriment.
                    16         123. Sustenance was and is the alter ego and mere instrumentality of Khan.
                    17                           ELEVENTH CAUSE OF ACTION
                    18                            Fraud – Purchase Order No. 105
                    19                             (Against Khan and Sustenance)
                    20         124. Plaintiff repeats and realleges the allegations contained in each of the
                    21   preceding paragraphs as set forth at length herein.
                    22         125. In November 2020, Khan and Sustenance falsely represented to 8 th
                    23   Sense that their distributors of 3M face masks and other PPE were authorized by 3M
                    24   to distribute 3M products.
                    25         126. In November 2020, Khan and Sustenance falsely represented to 8 th
                    26   Sense that the 3M face masks and other PPE that his sources distributed were
                    27   manufactured by 3M in the United States. For example, on November 17, 2020,
                    28   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 21 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 22 of 90 Page ID #:22



                     1   United States.
                     2         127. On November 20, 2020, in response to Giguere’s request for a video
                     3   showing the actual boxes of 3M face masks and an indication that they were for 8th
                     4   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                     5   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                     6   background.
                     7         128. Khan and Sustenance knew that the foregoing representations were false
                     8   or had a reckless disregard for their truth.
                     9         129. 8th Sense reasonably relied upon the foregoing misrepresentations in
                    10   issuing Purchase Order No. 105 for 300,000, model 1860 small, face masks, and
                    11   wiring $935,000 to Sustenance.
                    12         130. As a direct and proximate result of the foregoing misrepresentations,
                    13   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                    14   unreturned funds, as well as consequential damages in the cancellation of contracts
                    15   and a bar on doing business with Canadian health systems.
                    16                            TWELFTH CAUSE OF ACTION
                    17                 Negligent Misrepresentation – Purchase Order No. 105
                    18                             (Against Khan and Sustenance)
                    19         131. Plaintiff repeats and realleges the allegations contained in each of the
                    20   preceding paragraphs as set forth at length herein.
                    21         132. In November 2020, Khan and Sustenance falsely represented to 8 th
                    22   Sense that their distributors of 3M face masks and other PPE were authorized by 3M
                    23   to distribute 3M products.
                    24         133. In November 2020, Khan and Sustenance falsely represented to 8th
                    25   Sense that the 3M face masks and other PPE that his sources distributed were
                    26   manufactured by 3M in the United States. For example, on November 17, 2020,
                    27   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
                    28   United States.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                - 22 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 23 of 90 Page ID #:23



                     1         134. On November 20, 2020, in response to Giguere’s request for a video
                     2   showing the actual boxes of 3M face masks and an indication that they were for 8th
                     3   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                     4   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                     5   background.
                     6         135. Khan and Sustenance had no reason to believe that the foregoing
                     7   representations were true, yet intended for 8th Sense to reply upon those
                     8   representations.
                     9         136. 8th Sense relied upon the foregoing misrepresentations in issuing
                    10   Purchase Order No. 105 for 300,000, model 1860 small, face masks, and wiring
                    11   $935,000 to Sustenance.
                    12         137. As a direct and proximate result of the foregoing misrepresentations,
                    13   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                    14   unreturned funds, as well as consequential damages in the cancellation of contracts
                    15   and a bar on doing business with Canadian health systems.
                    16                         THIRTEENTH CAUSE OF ACTION
                    17                         Conversion – Purchase Order No. 105
                    18                             (Against Khan and Sustenance)
                    19         138. Plaintiff repeats and realleges the allegations contained in each of the
                    20   preceding paragraphs as set forth at length herein.
                    21         139. In furtherance of Purchase Order No. 105, 8th Sense wired $935,000 to
                    22   an account designated by Khan, for the purchase of 300,000 3M series 1860 small
                    23   face masks.
                    24         140. Defendants failed to deliver any of the face masks under Purchase Order
                    25   No. 105.
                    26         141. On February 16, 2021, 8th Sense was informed by Health Canada that
                    27   certain face masks delivered to Alberta Health Service (through Sustenance) may be
                    28   counterfeit. In fact, those face masks were later determined to be counterfeit and,
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 23 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 24 of 90 Page ID #:24



                     1   consequently, were seized and destroyed.
                     2         142. On February 19, 2021, after having been informed by Health Canada
                     3   that certain face masks delivered to Alberta Health Services may be counterfeit, 8 th
                     4   Sense cancelled Purchase Order No. 105 and demanded that Khan and Sustenance
                     5   refund the $935,000 paid by 8th Sense.
                     6         143. In failing to return any of the monies as demanded by 8th Sense, Khan
                     7   and 8th Sense have exercised dominion and control over those funds and substantially
                     8   interfered with 8th Sense’s right to those funds, without 8th Sense’s consent.
                     9         144. As a direct and proximate cause of Defendants’ unlawful conduct,
                    10   Plaintiff has sustained damages.
                    11                         FOURTEENTH CAUSE OF ACTION
                    12                     Breach of Contract – Purchase Order No. 105
                    13                             (Against Khan and Sustenance)
                    14         145. Plaintiff repeats and realleges the allegations contained in each of the
                    15   preceding paragraphs as set forth at length herein.
                    16         146. 8th Sense issued to Sustenance Purchase Order No 102, dated November
                    17   25, 2020, for 300,000 3M face masks, model 1860 small, for a purchase price of
                    18   $825,000, and requirements, inter alia, that they are “made in the USA with globally
                    19   sourced materials”, and that “the seller guarantees that each mask is genuine.”
                    20         147. Khan and Sustenance, in turn, issued to 8 th Sense Invoice No. 33552,
                    21   dated November 25, 2020, that (mistakenly) priced the 300,000 3M face masks,
                    22   model 1860 small, at $945,000, but did not object to or otherwise negate the
                    23   requirements in Purchase Order No. 105.
                    24         148. In accordance with Invoice No. 33552, 8th Sense subsequently wired
                    25   $935,000 to Sustenance, thereby creating a contract, under the Uniform Commercial
                    26   Code, as between merchants, and performing on the contract.
                    27         149. On February 19, 2021, after having been informed by Health Canada
                    28   that certain face masks delivered to Alberta Health Services may be counterfeit, 8 th
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 24 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 25 of 90 Page ID #:25



                     1   Sense cancelled the contract and demanded that Khan and Sustenance refund the
                     2   $935,000 paid by 8th Sense.
                     3         150. Khan and Sustenance breached the contract by failing to deliver and of
                     4   the face masks under that contract.
                     5         151. As a direct and proximate cause of such breach, Plaintiff has sustained
                     6   damages in the amount of the unreturned funds, as well as consequential damages in
                     7   the cancellation of contracts and a bar on doing business with Canadian health
                     8   systems.
                     9         152. Sustenance was and is the alter ego and mere instrumentality of Khan.
                    10                          FIFTEENTH CAUSE OF ACTION
                    11                     Unjust Enrichment – Purchase Order No. 105
                    12                            (Against Khan and Sustenance)
                    13         153. Plaintiff repeats and realleges the allegations contained in each of the
                    14   preceding paragraphs as set forth at length herein.
                    15         154. 8th Sense issued to Sustenance Purchase Order No 102, dated November
                    16   25, 2020, for 300,000 3M face masks, model 1860 small, for a purchase price of
                    17   $825,000, and requirements, inter alia, that they are “made in the USA with globally
                    18   sourced materials”, and that “the seller guarantees that each mask is genuine.”
                    19         155. Khan and Sustenance, in turn, issued to 8 th Sense Invoice No. 33552,
                    20   dated November 25, 2020, that (mistakenly) priced the 300,000 3M face masks,
                    21   model 1860 small, at $945,000, but did not object to or otherwise negate the
                    22   requirements in Purchase Order No. 105.
                    23         156. In accordance with Invoice No. 33552, 8th Sense subsequently wired
                    24   $935,000 to Sustenance, 2020, thereby fully performing its obligation.
                    25         157. On February 19, 2021, after having been informed by Health Canada
                    26   that certain face masks delivered to Alberta Health Services may be counterfeit, 8 th
                    27   Sense cancelled the contract and demanded that Khan and Sustenance refund the
                    28   $935,000 paid by 8th Sense.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 25 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 26 of 90 Page ID #:26



                     1         158. By failing to deliver the subject face masks and by failing to return the
                     2   subject funds after they were demanded by 8th Sense, Khan and Sustenance have been
                     3   unjustly enriched to Plaintiff’s detriment.
                     4         159. Sustenance was and is the alter ego and mere instrumentality of Khan.
                     5                           SIXTEENTH CAUSE OF ACTION
                     6                             Fraud – Purchase Order No. 103
                     7                             (Against Khan and Sustenance)
                     8         160. Plaintiff repeats and realleges the allegations contained in each of the
                     9   preceding paragraphs as set forth at length herein.
                    10         161. In November 2020, Khan and Sustenance falsely represented to 8th
                    11   Sense That their distributors of 3M face masks and other PPE were authorized by 3M
                    12   to distribute 3M products.
                    13         162. In November 2020, Khan and Sustenance falsely represented to 8 th
                    14   Sense that the 3M face masks and other PPE that his sources distributed were
                    15   manufactured by 3M in the United States. For example, on November 17, 2020,
                    16   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
                    17   United States.
                    18         163. On November 20, 2020, in response to Giguere’s request for a video
                    19   showing the actual boxes of 3M face masks and an indication that they were for 8 th
                    20   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                    21   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                    22   background.
                    23         164. Khan and Sustenance knew that the foregoing representations were false
                    24   or had a reckless disregard for their truth.
                    25         165. 8th Sense reasonably relied upon the foregoing misrepresentations in
                    26   issuing Purchase Order No. 103 for 47,840, model 8210, face masks, and wiring
                    27   $145,912,000 to Sustenance.
                    28         166. As a direct and proximate result of the foregoing misrepresentations,
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                - 26 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 27 of 90 Page ID #:27



                     1   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                     2   unreturned funds, as well as consequential damages in the cancellation of contracts
                     3   and a bar on doing business with Canadian health systems.
                     4                        SEVENTEENTH CAUSE OF ACTION
                     5                 Negligent Misrepresentation – Purchase Order No. 103
                     6                            (Against Khan and Sustenance)
                     7         167. Plaintiff repeats and realleges the allegations contained in each of the
                     8   preceding paragraphs as set forth at length herein.
                     9         168. In November 2020, Khan and Sustenance falsely represented to 8 th
                    10   Sense That their distributors of 3M face masks and other PPE were authorized by 3M
                    11   to distribute 3M products.
                    12         169. In November 2020, Khan and Sustenance falsely represented to 8 th
                    13   Sense that the 3M face masks and other PPE that his sources distributed were
                    14   manufactured by 3M in the United States. For example, on November 17, 2020,
                    15   Khan sent a message confirming that 3M’s model 1860 face masks were made in the
                    16   United States.
                    17         170. On November 20, 2020, in response to Giguere’s request for a video
                    18   showing the actual boxes of 3M face masks and an indication that they were for 8 th
                    19   Sense, Khan provided a video showing a sign with Giguere’s first name, “Nicolas”
                    20   next to words “8th Sense”, with what appeared to be boxes of 3M face masks in the
                    21   background.
                    22         171. Khan and Sustenance had no reason to believe that the foregoing
                    23   Representations were true, yet intended for 8th Sense to rely upon those
                    24   representations.
                    25         172. 8th Sense relied upon the foregoing misrepresentations in issuing
                    26   Purchase Order No. 103 for 47,840, model 8210, face masks, and wiring
                    27   $145,912,000 to Sustenance.
                    28         173. As a direct and proximate result of the foregoing misrepresentations,
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 27 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 28 of 90 Page ID #:28



                     1   and 8th Sense’s reliance thereon, 8th Sense sustained damages in the amount of the
                     2   unreturned funds, as well as consequential damages in the cancellation of contracts
                     3   and a bar on doing business with Canadian health systems.
                     4                         EIGHTEENTH CAUSE OF ACTION
                     5                         Conversion – Purchase Order No. 103
                     6                             (Against Khan and Sustenance)
                     7         174. Plaintiff repeats and realleges the allegations contained in each of the
                     8   preceding paragraphs as set forth at length herein.
                     9         175. In furtherance of Purchase Order No. 103, 8th Sense wired $145,912 to
                    10   an account designated by Khan, for the purchase of 47,840 3M series 8210 face
                    11   masks.
                    12         176. Defendants failed to deliver 22,240 of the face masks under Purchase
                    13   Order No. 103.
                    14         177. Consequently, on February 2, 2021, 8th Sense demanded that Sustenance
                    15   refund $67,832 of the $145,912 paid.
                    16         178. In failing to return any of the monies as demanded by 8th Sense, Khan
                    17   and 8th Sense have exercised dominion and control over those funds and substantially
                    18   interfered with 8th Sense’s right to those funds, without 8th Sense’s consent.
                    19         179. As a direct and proximate cause of Defendants’ unlawful conduct,
                    20   Plaintiff has sustained damages.
                    21                         NINETEENTH CAUSE OF ACTION
                    22                     Breach of Contract – Purchase Order No. 103
                    23                             (Against Khan and Sustenance)
                    24

                    25         180. Plaintiff repeats and realleges the allegations contained in each of the
                    26   preceding paragraphs as set forth at length herein.
                    27         181. 8th Sense issued to Sustenance Purchase Order No 103, dated
                    28   November 25, 2020, for 47,840 3M series 8210 face masks, for a purchase price of
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                                - 28 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 29 of 90 Page ID #:29



                     1   $145,912, and requirements, inter alia, that they are “made in the USA with globally
                     2   sourced materials”, and that “the seller guarantees that each mask is genuine.”
                     3         182. Khan and Sustenance, in turn, issued to 8th Sense Invoice No. 33550,
                     4   dated November 25,       2020, which mirrored the product, quantity and price
                     5   descriptions in Purchase Order No. 103 and did not object to or otherwise negate the
                     6   requirements in Purchase Order No. 103, thereby forming a contract, under the
                     7   Uniform Commercial Code, as between merchants.
                     8         183. In furtherance of its contractual obligation, on November 27, 2020, 8 th
                     9   Sense wired $145,912 to an account designated by Sustenance, thereby performing
                    10   on the contract.
                    11         184. On December 3, 2020, Sustenance delivered 25,600 3M model 8210
                    12   face masks. But because Sustenance failed to deliver the other 22,240 face masks
                    13   that 8th Sense had paid for, on February 2, 2021, 8th Sense demanded that Sustenance
                    14   refund $67, 832 of the $146, 912 paid.
                    15         185. To date, Sustenance has failed to refund any of the $67,832 demanded.
                    16         186. Khan and Sustenance breached the contract by failing to deliver 22,240
                    17   face masks that 8th Sense had paid and of the face masks under that contract and then
                    18   failing to refund the $67,832 demanded.
                    19         187. As a direct and proximate cause of such breach, Plaintiff has sustained
                    20   damages in the amount of the unreturned funds, as well as consequential damages in
                    21   the cancellation of contracts and a bar on doing business with Canadian health
                    22   systems.
                    23         188. Sustenance was and is the alter ego and mere instrumentality of Khan.
                    24                          TWENTIETH CAUSE OF ACTION
                    25                      Unjust Enrichment – Purchase Order No. 103
                    26                                  (Against Sustenance)
                    27         189. Plaintiff repeats and realleges the allegations contained in each of the
                    28   preceding paragraphs as set forth at length herein.
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 29 -
   LOS ANGELES
                                                           COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 30 of 90 Page ID #:30



                     1          190. 8th Sense issued to Sustenance Purchase Order No 103, dated
                     2   November 25, 2020, for 47,840 3M series 8210 face masks, for a purchase price of
                     3   $145,912, and requirements, inter alia, that they are “made in the USA with globally
                     4   sourced materials”, and that “the seller guarantees that each mask is genuine.”
                     5          191. Khan and Sustenance, in turn, issued to 8th Sense Invoice No. 33550,
                     6   dated November 25,       2020, which mirrored the product, quantity and price
                     7   descriptions in Purchase Order No. 103 and did not object to or otherwise negate the
                     8   requirements in Purchase Order No. 103.
                     9          192. In accordance with Invoice No. 33550, 8th Sense subsequently wired
                    10   $145,912 to Sustenance, 2020, thereby fully performing its obligation.
                    11          193. By failing to deliver 22,240 face masks that 8th Sense had paid for and
                    12   then failing to refund the $67,832 demanded by 8th Sense, Khan and Sustenance have
                    13   been unjustly enriched to Plaintiff’s detriment.
                    14          194. Sustenance was and is the alter ego and mere instrumentality of Khan.
                    15                                PRAYER FOR RELIEF
                    16          WHEREFORE, Plaintiff prays for relief and judgment against Defendants
                    17   Khan and Sustenance as follows:
                    18          1.    For compensatory, actual, consequential and special damages;
                    19          2.    For punitive damages commensurate with the egregious nature of
                    20   Khan’s and Sustenance’s wrongdoing, in an amount sufficient to punish and
                    21   dissuade;
                    22          3.    For interest and counsel fees; and
                    23          4.    For any and all such other relief that this Court deems just and equitable.
                    24                                JURY TRIAL DEMAND
                    25          Plaintiff demands a trial by jury for all claims asserted in this Complaint so
                    26   triable.
                    27   ///
                    28   ///
KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                               - 30 -
   LOS ANGELES
                                                            COMPLAINT
                 Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 31 of 90 Page ID #:31



                     1   Dated: February 25, 2022           KUTAK ROCK LLP
                     2

                     3                                          By:/s/ Saundra Wootton
                     4                                            Saundra Wootton
                                                                  Attorneys for Plaintiff
                     5                                            8th SENSE, INC.
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KUTAK ROCK LLP
 ATTORNEYS AT LAW
                                                       - 31 -
   LOS ANGELES
                                                    COMPLAINT
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 32 of 90 Page ID #:32
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 33 of 90 Page ID #:33
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 34 of 90 Page ID #:34
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 35 of 90 Page ID #:35
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 36 of 90 Page ID #:36
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 37 of 90 Page ID #:37
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 38 of 90 Page ID #:38
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 39 of 90 Page ID #:39
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 40 of 90 Page ID #:40
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 41 of 90 Page ID #:41
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 42 of 90 Page ID #:42
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 43 of 90 Page ID #:43
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 44 of 90 Page ID #:44
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 45 of 90 Page ID #:45
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 46 of 90 Page ID #:46
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 47 of 90 Page ID #:47
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 48 of 90 Page ID #:48
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 49 of 90 Page ID #:49
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 50 of 90 Page ID #:50
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 51 of 90 Page ID #:51
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 52 of 90 Page ID #:52
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 53 of 90 Page ID #:53
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 54 of 90 Page ID #:54
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 55 of 90 Page ID #:55
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 56 of 90 Page ID #:56
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 57 of 90 Page ID #:57
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 58 of 90 Page ID #:58
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 59 of 90 Page ID #:59
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 60 of 90 Page ID #:60
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 61 of 90 Page ID #:61
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 62 of 90 Page ID #:62
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 63 of 90 Page ID #:63
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 64 of 90 Page ID #:64
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 65 of 90 Page ID #:65
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 66 of 90 Page ID #:66
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 67 of 90 Page ID #:67
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 68 of 90 Page ID #:68
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 69 of 90 Page ID #:69
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 70 of 90 Page ID #:70
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 71 of 90 Page ID #:71
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 72 of 90 Page ID #:72
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 73 of 90 Page ID #:73
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 74 of 90 Page ID #:74
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 75 of 90 Page ID #:75
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 76 of 90 Page ID #:76
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 77 of 90 Page ID #:77
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 78 of 90 Page ID #:78
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 79 of 90 Page ID #:79
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 80 of 90 Page ID #:80
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 81 of 90 Page ID #:81
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 82 of 90 Page ID #:82
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 83 of 90 Page ID #:83
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 84 of 90 Page ID #:84
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 85 of 90 Page ID #:85
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 86 of 90 Page ID #:86
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 87 of 90 Page ID #:87
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 88 of 90 Page ID #:88
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 89 of 90 Page ID #:89
Case 2:22-cv-01305-MRW Document 1 Filed 02/25/22 Page 90 of 90 Page ID #:90
